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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                      )
                                               )
                       v.                      )     Criminal No. 18-10325-DJC
                                               )
 KIMBERLY KITTS                                )
           Defendant                           )


UNITED STATES’ MOTION FOR ORDER OF FORFEITURE (MONEY JUDGMENT)

       The United States of America, by its attorney, Andrew E. Lelling, United States Attorney

for the District of Massachusetts, respectfully moves this Court for the issuance of an Order of

Forfeiture (Money Judgment) in the above-captioned case pursuant to 18 U.S.C § 981(a)(1)(C)

and 28 U.S.C. § 2461(c), and Rule 32.2(b) of the Federal Rules of Criminal Procedure. A

proposed Order of Forfeiture is submitted herewith. In support thereof, the United States sets

forth the following:

       1.      On September 18, 2018, the United States Attorney for the District of

Massachusetts filed a six-count Information, charging defendant Kimberly Kitts (the “Defendant”)

with Investment Adviser Fraud, in violation of 15 U.S.C. § 80b-6 (Count One); Wire Fraud, in

violation of 18 U.S.C. § 1343 (Counts Two through Five); and Aggravated Identity Theft, in

violation of 18 U.S.C. § 1028A (Count Six).

       2.      The Information also included a forfeiture allegation, pursuant to 18 U.S.C

§ 981(a)(1)(C) and 28 U.S.C. § 2461(c) which provided notice that the United States intended to

seek the forfeiture, upon conviction of the Defendant of one or more of the offenses alleged in

Counts Two through Five of the Information, of any property, real or personal, that constitutes, or

is derived from, proceeds traceable to the commission of the offenses, including but not limited to

the sum of at least $3,085,939, which represents the approximate proceeds that defendant obtained
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as a result of offenses.

        3.      The Information further provided that, if any of the above-described forfeitable

property, as a result of any act or omission by the Defendant, (a) cannot be located upon the

exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party; (c)

has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in

value; or (e) has been commingled with other property that cannot be divided without difficulty,

the United States is entitled to seek forfeiture of any other property of the Defendant, up to the

value of such assets, pursuant to 21 U.S.C. § 853(p), as incoporated by 28 U.S.C. § 2461(c).

        4.      On November 19, 2018, at a hearing pursuant to Rule 11 of the Federal Rules of

Criminal Procedure, the Defendant pled guilty to Counts One through Six of the Information.

During the hearing, the United States gave a recitation of the facts, referenced the Properties being

forfeited, and how the money judgment amount constitutes proceeds traceable to the commission

of the offenses. The Defendant did not object.

        5.      Based on the Defendant’s guilty plea on November 19, 2018, the United States is

entitled to an Order of Forfeiture consisting of a personal money judgment against the Defendant,

in the amount of $3,085,939 in United States currency, pursuant to 18 U.S.C. § 981(a)(1)(C) and

28 U.S.C. § 2461(c). This amount represents the proceeds of the Defendant=s crimes.

        6.      The entry of an Order of Forfeiture in the form of a personal money judgment is

specifically authorized by Rule 32.2(b)(1) and (c)(1) of the Federal Rules of Criminal Procedure,

and such orders of forfeiture are commonplace. See, e.g., United States v. Ponzo, 853 F.3d 558,

589-90 (1st Cir. 2017) (criminal forfeiture order may take several forms, including an in personam

judgment against defendant for amount of money defendant obtained as proceeds of offense);


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United States v. Zorrilla-Echevarria, 671 F.3d 1, 11 n.15 (1st Cir. 2011) (“A criminal forfeiture

may take the form of either (1) ‘an in personam judgment against the defendant for the amount of

money the defendant obtained as proceeds of the offense,’ (2) forfeiture of specific assets related

to criminal activity, or (3) forfeiture of ‘substitute assets’ if the specific assets are unavailable.”)

(citation omitted); United States v. Hall, 434 F.3d 42, 59 (1st Cir. 2006) (same).

        7.      Once the Order of Forfeiture is entered, the United States may move at any time,

pursuant to Rule 32.2(e)(1)(B), to amend the Order to forfeit specific property of the Defendant,

having a value up to the amount of the money judgment.                See United States v. Zorrilla-

Echevarria, 671 F.3d at 11 n.15 (“[a] money judgment permits the government to collect on the

forfeiture order … even if a defendant does not have sufficient funds to cover the forfeiture at the

time of the conviction, the government may seize future assets to satisfy the order”); United States

v. Saccoccia, 564 F.3d 502, 506-507 (1st Cir. 2009) (once government obtains money judgment,

it may move at any time to forfeit direct or substitute assets in partial satisfaction of that judgment).

        8.      Upon entry of the Order of Forfeiture, the United States may also, pursuant to Rule

32.2(b)(3) of the Federal Rules of Criminal Procedure, “conduct any discovery the court considers

proper in identifying, locating or disposing of the property” that has been forfeited to the United

States. Such discovery may include the taking of depositions of witnesses. See 21 U.S.C.

§ 853(m), as incorporated by 28 U.S.C. § 2461(c); see also United States v. Saccoccia, 354 F.3d

9, 15 (1st Cir. 2003) (“the government may utilize its enforcement powers under [18 U.S.C.

§] 1963(k) to ‘trace’ tainted funds”); United States v. Saccoccia, 898 F. Supp. 53, 60 (D.R.I. 1995)

(the United States can take depositions of defense counsel to determine source of their fees for the

purpose of locating a pool of assets controlled by defendant that is subject to forfeiture). In


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addition, the reference in Rule 32.2(b)(3) to “any discovery the court considers proper” necessarily

permits the court to authorize discovery under the Federal Rules of Civil Procedure. Such

discovery includes, but is not limited to, the authority to issue a request for documents to a party

under Rule 34 and to a non-party under Rules 34(c) and 45.

       WHEREFORE, the United States requests that this Court:

       (a)     enter the Order of Forfeiture (Money Judgment) in the form submitted herewith;

       (b)     retain jurisdiction in this case for purposes of enforcing the forfeiture;

       (c)     include the forfeiture, as set forth in the Order of Forfeiture (Money Judgment), in

the oral pronouncement of the Defendant's sentence; and

       (d)     incorporate the Order of Forfeiture (Money Judgment) in the criminal judgment(s)

entered against the Defendant, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4).


                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

                                              By:      /s/ Carol E. Head
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Dated: March 18, 2019                                 carol.head@usdoj.gov




                                      Certificate of Service


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       I hereby certify that the foregoing Motion for Order of Forfeiture (Money Judgment), as
well as the proposed Order of Forfeiture (Money Judgment), were filed through the Electronic
Case Filing system and will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing.

                                                       /s/ Carol E. Head
                                                      CAROL E. HEAD
Dated: March 18, 2019                                 Assistant United States Attorney




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